[Cite as Parma v. Coyne, 2024-Ohio-3192.]

                             COURT OF APPEALS OF OHIO

                            EIGHTH APPELLATE DISTRICT
                               COUNTY OF CUYAHOGA

CITY OF PARMA,

                Plaintiff-Appellee,               :
                                                             No. 113407
                                                  :
                v.
                                                  :
STEVE COYNE,
                                                  :
                Defendant-Appellant.


                              JOURNAL ENTRY AND OPINION

                JUDGMENT: AFFIRMED
                RELEASED AND JOURNALIZED: August 22, 2024


                     Criminal Appeal from the Parma Municipal Court
                                 Case No. 23TRC02379


                                            Appearances:

                Scott M. Tuma, Parma Chief Prosecutor/Law Director,
                and John L. Reulback, Jr., Assistant Prosecuting Attorney,
                for appellee.

                Annotico Law, Inc. and Ronald A. Annotico, for appellant.


EMMANUELA D. GROVES, J.:

                 Defendant-appellant, Steve Coyne (“Coyne”), appeals the trial court’s

decision denying his motion to suppress. Upon review, we affirm the trial court’s

judgment.
   I.    Facts and Procedural History

              In February 2022, Coyne was pulled over and arrested by Parma

Police Department Patrolman Matthew Bertole (“Officer Bertole”), who was

responding to a 9-1-1 disturbance call made from an apartment on Stumph Road.

Plaintiff-appellee, City of Parma (“City”), subsequently charged Coyne with

operating a vehicle under the influence of alcohol or drugs in violation of R.C.

4511.19(A)(1) (“OVI”), a misdemeanor of the first degree. Coyne pled not guilty.

              In May 2023, Coyne filed a motion to suppress, seeking to exclude (1)

all evidence gathered as a result of the stop of Coyne’s vehicle; (2) tests of Coyne’s

coordination and intoxication level, including bodily substance tests; (3) Coyne’s

statements; (4) observations and opinions of the officers involved; (5) and any and

all evidence obtained as a result of Coyne’s purported illegal, warrantless seizure.

Coyne argued that this “illegally and unconstitutionally obtained” evidence should

be suppressed because the initial seizure was accomplished in the absence of any

reasonable and articulable suspicion that Coyne had violated, was violating, or was

about to violate any traffic law and contravened R.C. 2935.03 and 2935.04. As a

result, Coyne claimed he was subjected to an unreasonable seizure, contrary to his

rights under the Fourth and Fourteenth Amendments of the U.S. Constitution and

Article 1, Section 14 of the Ohio Constitution. Coyne further argued that absent this

evidence, there was no lawful cause to detain Coyne or probable cause to arrest him

without a warrant.
              In June 2023, a hearing was held on Coyne’s motion to suppress. The

following evidence was adduced at the hearing. In February 2022, Shawn Bolling

(“Bolling”) called 9-1-1 and informed the dispatcher that “there’s somebody that

refuses to leave my mom’s apartment. He’s belligerent, he’s drunk, he’s threatening

me and my mom.” (06/28/23, Tr. 38.) Bolling identified Coyne, his mother’s

boyfriend, in the call and advised that Coyne was “threatening to be” physically

aggressive. Id. At the end of the call, Bolling informed the dispatcher that Coyne

“just left” and he believed Coyne was in a vehicle, although he did not know what

kind of vehicle Coyne drove and could not provide Coyne’s physical description. Id.

at 39. Bolling then ended the call, saying, “I’m not trying to deal with this . . . right

now.” Id. at 40.

              The radio-transmission recordings between Parma dispatch and

responding officers and computer-aided dispatch report (“CAD Report”) associated

with the call revealed the following timeline of events. At 11:32 p.m., dispatch

radioed, “Male is intoxicated and belligerent, believed to be a Steve Coyne,

threatening to be physically aggressive.” Id. at 16, 20. Two minutes later, at 11:34

p.m., dispatch indicated that “the male just walked out the door.” Id. at 18, 21. At

the suppression hearing, Officer Bertole, the responding officer who ultimately

stopped and arrested Coyne, advised that he had not reached the apartment or

encountered Coyne at that time.          Officer Bertole explained that while the

disturbance was “not active,” officers were still responding to the address to
investigate whether a crime occurred since “[the caller] wanted us to come there

because they called 9-1-1” and “we’re obligated to respond.” Id. at 21-22.

              Descriptions of Coyne and his vehicle, a gray Ford Edge, were then

provided by dispatch over the radio, along with Coyne’s license plate number. At

11:38 p.m., Officer Bertole located a vehicle matching dispatch’s description at the

intersection of Snow Road and Stumph Road/Chevrolet Boulevard while enroute to

the Stumph Road apartment. Officer Bertole indicated to dispatch that he was going

to stop the gray Ford Edge and speak with the driver.

              Officer Bertole explained the events in February 2022 leading up to

Coyne’s arrest as follows:

      We received a call for service. It was a report of a disturbance at an
      apartment on Stumph Road. The male was being verbally abusive, I
      think they said threatening to be physical.

      As I was responding, I saw a vehicle that matched the description
      g[iven] by our dispatch. I got behind it and ran the license plate, I
      believe, which showed me that it was, in fact, the male in question. And
      I chose to stop the vehicle as part of the investigation into what
      happened at Stumph Road.

Id. at 8. Officer Bertole stated that he had not witnessed a traffic violation when he

turned on his overhead lights and initiated the traffic stop; rather, he was pulling the

vehicle over only because of what he heard about the 9-1-1 call from dispatch. Officer

Bertole claimed that at the time he initiated the traffic stop, it was not an OVI

investigation; instead, he was investigating the 9-1-1 call.

              Officer Bertole observed Coyne slurring his speech and he noticed that

Coyne’s eyes were “pretty glassy.” Id. at 10. Officer Bertole stated:
      I asked [Coyne] if he had been drinking and he admitted that he was,
      in fact, drinking earlier. And multiple times he told me that he knew
      he shouldn’t be driving. I was asking him what was going on at the
      apartment. And they had an argument of some sort, if I recall. He just
      wanted to leave, remove himself from the situation before anything else
      happened.

Id. As a result of his conversations with and observations of Coyne, Officer Bertole

asked him to step out of the vehicle and perform field sobriety tests. Coyne was

either unable to complete the tests or showed clues of intoxication.

              While Officer Bertole was conducting his traffic stop in front of the

UAW Hall, another officer advised over the radio that “after speaking to the caller it

sounds like it was verbal, he’s okay with just the man leaving for tonight . . . .” Id. at

28. At the suppression hearing, Bolling explained that he spoke to a police officer

after his initial call with dispatch and “informed him on the phone call that I did not

want to deal with the situation any longer, situation was resolved. He left peacefully,

nothing had happened, and the situation was done. I deemed it over the moment

[Coyne] closed the door.” Id. at 46. Bolling said that he did not tell police officers

to investigate further or to press charges and no actual physical violence occurred

between him and Coyne.

              In August 2023, the trial court ruled on Coyne’s motion to suppress

and issued a judgment entry with findings of fact and conclusions of law. In holding

that “the police had reasonable suspicion to encounter and engage [Coyne]

notwithstanding the lack of an observed traffic violation[,]” the trial court found:

      The officers were dispatched regarding a citizen complaint by an
      identified phone caller, indicating a situation needing police response.
       This included references to the aggressive and intoxicated behavior of
       [Coyne]. The initial dispatch of officers was relative to a possible
       disturbance situation. Police were further advised that [Coyne] had left
       the residence and had left in his [gray] Ford Edge. [Officer] Bertol[e]
       encountered [Coyne] and engaged in a traffic stop at the UAW Hall on
       Stump/Chevrolet, which is not a long distance from the address of the
       call, and is consistent with [Coyne] leaving and going northbound, in a
       contemporaneous time frame with the call. The officers had the right
       to detain [Coyne] for further investigation as it relates to the initial call
       of a disturbance at the apartment.

(Judgment Entry, 08/31/23.)          The trial court then held that the police had

reasonable suspicion to engage in further investigation regarding a possible OVI

given the information provided by dispatch and Officer Bertole’s observation of

signs of possible impairment, including slurred speech and Coyne’s admission that

he was drinking earlier. Id. Finally, the trial court held that police had probable

cause to arrest Coyne for an OVI violation, finding:

       The initial call [from] the apartment indicated that [Coyne] was drunk.
       He was stopped in a motor vehicle, having operated the same from the
       apartment to the stopping point near the UAW Hall. [Officer] Bertol[e]
       noticed indicia of alcohol consumption, including [Coyne’s] own
       admission. The [one field sobriety test], which appears to be properly
       conducted, resulted in six clues; raising a presumption that [Coyne]
       would test over .08 if he tested. [The other two tests] were unable to be
       completed, due to [Coyne’s] inability to complete the tests.

Id. Based on the foregoing, the trial court denied Coyne’s motion to suppress and

set the matter for a final pretrial and trial.

              At the final pretrial in October 2023, Coyne entered a plea of no

contest to the OVI charge. The trial court accepted Coyne’s plea and found him

guilty. A sentencing hearing was held on November 6, 2023, and a journal entry

memorializing his sentence was docketed on December 6, 2023.
                In the interim, Coyne filed the instant appeal and sentencing matters

were stayed pending resolution. Coyne raises two assignments of error for review.

         Assignment of Error No. 1

         The trial court’s findings of fact were against the manifest weight of the
         evidence.

         Assignment of Error No. 2

         The trial court erred when it denied [Coyne’s] motion to suppress,
         holding in error that the police had reasonable suspicion to initiate a
         traffic stop, without any observed traffic violations, to investigate a
         telephoned complaint to police of a disturbance at an apartment.

   II.      Law and Analysis

            A. Suppression Overview

                The Fourth Amendment to the United States Constitution and Article

I, Section 14, of the Ohio Constitution guarantee “the right of people to be secure in

their persons, houses, papers, and effects [or possessions], against unreasonable

searches and seizures.” Evidence obtained in violation of these constitutional

prohibitions is considered “fruit of the poisonous tree” and must be suppressed from

use in the criminal prosecution of the person from whom it was obtained. State v.

Parrish, 2023-Ohio-3356, ¶ 12 (8th Dist.), citing State v. Boulis, 2006-Ohio-3693,

¶ 12, 22 (8th Dist.). “‘The purpose of suppression is not to vindicate the rights of the

accused person, who may very well have engaged in illegal conduct, but to deter the

state from such acts in the future.’” Id., quoting State v Stagger, 2005-Ohio-4586,

¶ 11 (8th Dist.). This purpose should not be overshadowed by confirmation of the
detained person’s commission of an alleged criminal act. Id., citing State v. Byrd,

2022-Ohio-4635, ¶ 32 (8th Dist.).

         B.   Standard of Review

              Appellate review of a motion to suppress generally presents a mixed

question of law and fact. State v. Burnside, 2003-Ohio-5372, ¶ 8. At a suppression

hearing, the trial court is in the best position to evaluate the evidence and the

credibility of witnesses and, therefore, assumes the role of trier of fact when

considering a motion to suppress. Id. On appeal, an appellate court must accept the

trial court’s findings of fact as true so long as they are supported by competent,

credible evidence. Id. The appellate court must then apply the de novo standard of

review to the trial court’s conclusions of law, independently determining whether

the facts satisfy the applicable legal standard without deference to the trial court’s

legal conclusions. Id.
              When a defendant raises a manifest-weight challenge, the appellate

court must review the entire record, weigh all evidence and reasonable inferences,

and consider witness credibility to determine whether the factfinder clearly lost its

way in its resolution of evidentiary conflicts and created a manifest miscarriage of

justice. State v. Wilks, 2018-Ohio-1562, ¶ 168, citing State v. Thompkins, 78 Ohio

St.3d 380, 387, (1997). But “[i]n conducting such a review, this court remains

mindful that the credibility of witnesses and the weight of the evidence are matters

primarily for the trier of fact to assess.” Cleveland v. Giering, 2017-Ohio-8059, ¶ 36
(8th Dist.), citing State v. DeHass, 10 Ohio St.2d 230 (1967), paragraphs one and

two of the syllabus.

              With these principles in mind, we jointly review Coyne’s two

assignments of error concerning the trial court’s factual findings and legal

conclusions resulting in the denial of his motion to suppress.

         C. Denial of Motion to Suppress

              In his first assignment of error, Coyne argues that the trial court’s

findings of fact were incomplete and against the manifest weight of the evidence. In

his second assignment of error, Coyne asserts that the trial court erred by denying

his pretrial motion to suppress because the trial court failed to apply relevant state

and federal caselaw to the facts of this case.      Coyne further argues that any

reasonable suspicion arising from the 9-1-1 call ceased once Bolling advised that the

situation was over and voluntarily terminated the call. Finally, Coyne claims that

there was no probable cause for his arrest because all evidence gathered from the

“unjustified traffic stop” was “illegally obtained” and subject to suppression.

              The Fourth Amendment applies to seizures of a person, including brief

investigatory stops of persons in a vehicle. Navarette v. California, 572 U.S. 393,

396 (2014); Whren v. United States, 517 U.S. 806, 809 (1996); United States v.

Cortez, 449 U.S. 411, 417 (1981). When a police officer has a reasonable suspicion

that the person being stopped has or is engaged in criminal activity, an investigatory

stop, or Terry stop, does not violate the Fourth Amendment. Fairview Park v.
Bowman, 2023-Ohio-4210, ¶ 52 (8th Dist.), citing State v. Jones, 2014-Ohio-2763,

¶ 17 (8th Dist.).

               When determining whether reasonable suspicion exists for purposes

of an investigatory stop, the need for the search or seizure must be balanced against

the search’s invasion upon constitutionally protected interests. Terry v. Ohio, 392

U.S. 1, 21 (1968). To justify a particular intrusion, “the police officer must be able to

point to specific and articulable facts, which taken together with rational inferences

from those facts, reasonably warrant that intrusion.” Id. Thus, reasonable suspicion

involves more than “inchoate and unparticularized suspicion” or a mere “hunch,”

but less than the level of suspicion required for probable cause. Id. at 27. This

“reasonableness” determination hinges upon objective factors, rather than the

actual subjective motivation of the officer involved. In re E.H., 2019-Ohio-2572, ¶

24 (8th Dist.), citing Whren at 813. Finally, the “totality of the circumstances — the

whole picture” must be considered when evaluating whether a detaining officer had

the required “particularized and objective basis for suspecting the particular person

stopped of criminal activity.” Cortez at 417-418.

               In the instant case, Officer Bertole’s decision to stop Coyne was based

solely on the information provided by Bolling in his 9-1-1 call. Both the Ohio and

United States Supreme Courts have held that a reliable tip, standing alone, may

provide a reasonable, articulable suspicion to justify an investigatory stop.

In Maumee v. Weisner, 87 Ohio St.3d 295 (1999), paragraph two of the syllabus, the

Ohio Supreme Court held that a telephone tip can create reasonable suspicion
justifying an investigative stop if the tip has sufficient indicia of reliability. Under

these circumstances, the determination of reasonable suspicion is limited to an

examination of the weight and reliability of that tip. Id. at 299. “[T]he informant’s

veracity, reliability, and basis of knowledge” are highly relevant factors in

determining the tip’s value. Id., citing Alabama v. White, 496 U.S. 325, 328 (1990).

Citing caselaw from federal and Ohio appellate courts, the Ohio Supreme Court

explained that tips initiating from identified citizen informants that are reported

immediately and based on personal observations are afforded greater credibility,

reliability, and accuracy. Id. at 300-302.

              Similarly, in Navarette v. California, 572 U.S. 393, 399-400 (2014),

a case involving an anonymous tip that created a reasonable suspicion of drunk

driving, the U.S. Supreme Court found that eyewitness knowledge and

contemporaneous reporting lend significant support to a tip’s reliability. The U.S.

Supreme Court further found that the caller’s use of the 9-1-1 emergency system was

another indicator of veracity, noting, “A 9-1-1 call has some features that allow for

identifying and tracing callers, and thus provide some safeguards against making

false reports with immunity.” Id. at 400-401. The Navarette Court cautioned that

“[e]ven a reliable tip will justify an investigative stop only if it creates reasonable

suspicion that ‘criminal activity may be afoot.’” Id. at 401, quoting Terry at 30.

However, subsequent innocent conduct or the absence of suspicious conduct does

not dispel reasonable suspicion of criminal activity. Id. at 403. Therefore, “an
officer who already has a reasonable suspicion need not surveil a vehicle at length in

order to personally observe suspicious driving.” Id. at 404.

              In reviewing the totality of the circumstances, we find that Bolling’s tip

had sufficient indicia of reliability. Bolling called 9-1-1 and advised the dispatcher

that Coyne refused to leave his mother’s Stumph Road apartment and was

belligerent, drunk, and threatening to be physically violent with him and his mother.

Coyne does not challenge the trial court’s finding that Bolling was an “identified

phone caller” and his name and redacted telephone number appear on the CAD

Report. Bolstering the tip’s credibility, reliability, and accuracy, the record reveals

that Bolling utilized the 9-1-1 reporting system, possessed eyewitness knowledge,

and his call was made contemporaneously with the events that transpired at the

Stumph Road apartment. Bolling remained on the line with dispatch until he

believed Coyne left the apartment in a vehicle. Bolling’s initial report that Coyne

was belligerent, intoxicated, and threatening to be physically aggressive became a

matter of public safety after Coyne left the apartment and began driving a vehicle.

Thus, based on Bolling’s 9-1-1 call, it was objectively reasonable to suspect that a

crime occurred not only at the Stumph Road apartment, but was currently in

progress on public roadways. Accordingly, Bolling’s reliable tip provided a sufficient

basis to develop reasonable suspicion justifying Officer Bertole’s investigatory stop

of Coyne, who was identified by Bolling and located while driving a vehicle matching

the description provided by dispatch near the Stumph Road apartment where the

disturbance occurred. Because an objectively reasonable and articulable suspicion
was created by Bolling’s tip, Officer Bertole was not required to surveil Coyne’s

vehicle or personally observe suspicious driving prior to pulling him over.

               Coyne claims that the trial court clearly lost its way and created a

manifest miscarriage of justice by omitting “critical factual details,” including the

timeline of events, the specific allegations made by the caller, the way the caller

ended the 9-1-1 call, and that the caller did not wish for police to pursue the matter

any further. However, Coyne fails to make a cognizable argument that the trial

court’s “factual omissions” resulted in a manifest miscarriage of justice. Coyne does

not explain why the purported “factual omissions” are critical in the weighing of

evidence, establish how the trial court clearly lost its way in its resolution of

evidentiary conflicts, or cite any caselaw in support of his assertion that, because

searches and seizures are notoriously fact-sensitive, “it is essential that a trial court

articulate all of the specific facts that it relied upon to reach its determination.”

Despite Coyne’s contentions, our review of the August 31, 2023 judgment entry

reveals that the trial court accounted for the specific facts it relied upon in denying

Coyne’s motion to suppress and, as discussed above, those facts were consistent with

the evidence presented at the suppression hearing. Based on the record before us,

the trial court’s factual findings are supported by competent, credible evidence

within the record and there is no indication that the trial court, as the finder of fact,

lost its way or created a manifest miscarriage of justice by omitting the alleged

“critical factual details.”
              Coyne also claims that the trial court erred by failing to consider or

apply State v. Amburgy, 122 Ohio App.3d 277 (12th Dist. 1997), which he believes

has “a striking factual and legal similarity” to this case. However, Amburgy is clearly

distinguishable. In Amburgy, the informant did not claim that the defendant was

belligerent, intoxicated, or threatening physical violence. Rather, the informant

reported that she wanted the defendant to leave her home and that he may have

returned to pick up drugs. Id. at 279. The informant did not see what was picked

up — she merely thought it to be drugs — nor did she state that she saw the defendant

in her home. Id. at 281. The Twelfth District Court of Appeals found that the

informant’s tip was based on speculation, not upon personal knowledge, and absent

other facts showing that the officers had a particularized and objective basis for

suspecting that the defendant possessed drugs, the officers did not have a reasonable

suspicion to stop the defendant. Id. at 281.

              Unlike Amburgy, this case involves a reliable tip; Bolling provided a

real-time, firsthand account of specific and articulable facts that created reasonable

suspicion that a crime had occurred or was occurring because of Coyne’s

belligerence, intoxication, and threats. As previously discussed, Bolling’s tip alone

was sufficient to justify the stop of Coyne’s vehicle. See, e.g., State v. McKinney,

2016-Ohio-5737 (5th Dist.). (holding that a reliable informant’s report of the

defendant’s harassment, potential stalking, and possible intoxicated driving was

sufficient to justify the investigatory stop of the defendant’s vehicle, resulting in his

arrest for an OVI, without further indicia of drunk driving).
               The caselaw cited by Coyne in support of his argument that reasonable

suspicion ceased once the 9-1-1 call terminated is also distinguishable: they involve

suspected equipment or license violations that proved to be unsubstantiated upon

investigation. And the principle cited by Coyne that “[a]n officer’s reasonable

suspicion that a traffic violation occurred terminates when the officer recognizes the

grounds for effectuating the stop are no longer valid[,]” does not apply to this case.

Here, Officer Bertole was investigating Bolling’s 9-1-1 call, which reported that

Coyne was belligerent, drunk, and threatening to be physically aggressive. Coyne’s

reported condition did not “cease” because Bolling ended his 9-1-1 call to dispatch,

saying he was “not trying to deal with this . . . right now,” or because Coyne left the

Stumph Road apartment. Nor was Officer Bertole required to disregard his personal

observations during the investigatory stop after he received word that the

disturbance at the Stumph Road apartment was verbal in nature and Bolling was

“okay with just the man leaving for tonight.” Rather, Officer Bertole’s observations

of Coyne’s intoxication, Coyne’s own admissions that he was drinking and should

not be driving, and subsequent field sobriety tests substantiated the reasonable

suspicion arising from Bolling’s 9-1-1 call, leading to Coyne’s OVI arrest. Therefore,

Coyne’s arguments are without merit, and we find that Officer Bertole’s

investigatory stop of Coyne was based upon reasonable suspicion deriving from

Bolling’s reliable tip.

               Finally, Coyne does not argue that his arrest lacked probable cause in

light of Officer Bertole’s observations, Coyne’s admissions, and the field sobriety test
results. Rather, he claims Officer Bertole lacked probable cause to arrest him for an

OVI because this evidence, obtained after an “illegal stop,” must be suppressed.

Because we find that reasonable suspicion justified the investigatory stop, we cannot

say that the evidence gathered thereafter is “fruit of the poisonous tree” requiring

suppression. Accordingly, we overrule both of Coyne’s assignments of error and

affirm the trial court’s denial of Coyne’s motion to suppress.

              Judgment affirmed.

      It is ordered that appellee recover from appellant costs herein taxed.

      The court finds there were reasonable grounds for this appeal.

      It is ordered that a special mandate issue of this court directing the Parma

Municipal Court to carry this judgment into execution. The defendant’s conviction

having been affirmed, any bail pending appeal is terminated. Case remanded to the

trial court for execution of sentence.

      A certified copy of this entry shall constitute the mandate pursuant to Rule 27

of the Rules of Appellate Procedure.



EMANUELLA D. GROVES, JUDGE

KATHLEEN ANN KEOUGH, A.J., and
FRANK DANIEL CELEBREZZE, III, J., CONCUR
